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                                                             NOT PRECEDENTIAL

                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                               ______________

                                     No. 20-1427
                                   ______________

                               WILLIAM E. HOOKER,
                                                             Appellant

                                           v.

                                NOVO NORDISK INC.
                                  ______________

             APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                      (D.C. Civ. Action No. 3:16-cv-04562)
                   District Judge: Honorable Michael A. Shipp
                                 ______________
                  Submitted Under Third Circuit L.A.R. 34.1(a)
                                December 14, 2020

      BEFORE: GREENAWAY, JR., SHWARTZ, and FUENTES, Circuit Judges
                          ______________

                                     JUDGMENT
                                   ______________

      This cause came to be considered on the record from the United States District

Court from the District of New Jersey and was submitted pursuant to Third Circuit

L.A.R. 34.1(a) on December 14, 2020. On consideration whereof, it is now hereby
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      ORDERED and ADJUDGED by this Court that the order of the District Court

entered January 31, 2020, is hereby AFFIRMED. All of the above in accordance with the

Opinion of this Court.

      Costs taxed against Appellant.



                                       ATTESTED:


                                       s/ Patricia S. Dodszuweit
                                       Clerk
Dated: July 22, 2021




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